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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

 

UNITED STATES OF AMERICA, No. CR 11-72(A)-PsG
Plaintiff, JURY INSTRUCTIONS
. Ve.

ANDRANIK ALOYAN,

Defendant.

 

 

 

 
 

 

 

   
  

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. COURT’S INSTRUCTION NO. 1
Members of the jury, now that you have heard all the
evidence, it is my duty to instruct you on the law that applies
to this case. A copy of these instructions will be available in
the jury room for you to consult.

It is your duty to weigh and to evaluate all the evidence

 

received in the case and, in that process, to decide the facts, ——

; It is also your duty to apply the law as I give it to you to the
10 facts as you find them, whether you agree with the law or not.

il You must decide the case solely on the evidence and the law and
12 must not be influenced by any personal likes or dislikes,

13 opinions, prejudices, or sympathy. You will recall that you took
14 an oath promising to do so at the beginning of the case.

15 You must follow all these instructions and not Single out
16 | some and ignore others; they are all important. Please do not
7 read into these instructions or into anything I may have said or
18 done any suggestion as to what verdict you should return — that
19 is a matter entirely up to you.

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COURT’S INSTRUCTION NO._2_
The First Superseding Indictment charges that the offenses
alleged were committed “on or about” a certain date.
Although it is necessary for the government to prove beyond
a reasonable doubt that an offense was committed on a date

reasonably near the date alleged in the First Superseding

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Indictment, it is not necessary for the government to prove that

 

 

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the offense was committed precisely on the date charged.

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COURT'S INSTRUCTION NO. _3_

The First Superseding Indictment is not evidence. The

defendant has pleaded not guilty to the charges. The defendant
is presumed to be innocent unless and until the government proves
the defendant guilty beyond a reasonable doubt. In addition, the
defendant does not have to testify or present any evidence to

prove innocence. The government has the burden of proving every

 

 

 

element of the charges beyond a reasonable doubt.

 
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COURT’S INSTRUCTION NO. _4
A defendant in a criminal case has a constitutional right
not to testify. You may not draw any inference of any kind from

the fact that the defendant did not testify.

 

 

 

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COURT’S INSTRUCTION NO. 2
Proof beyond a reasonable doubt is proof that leaves you
firmly convinced the defendant is guilty. It is not required
that the government prove guilt beyond all possible doubt.
A reasonable doubt is a doubt based upon reason and common
sense and is not based purely on speculation. It may arise from

a careful and impartial consideration of all the evidence, or

 

 

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from lack of evidence.

If after a careful and impartial consideration of all the
evidence, you are not convinced beyond a reasonable doubt that
the defendant is guilty, it is your duty to find the defendant
not guilty. On the other hand, if after a careful and impartial
consideration of all the evidence, you are convinced beyond a
reasonable doubt that the defendant is guilty, it is your duty to

find the defendant guilty.

 
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COURT’S INSTRUCTION NO. _6_
The evidence you are to consider in deciding what the facts
are consists of:
(1) the sworn testimony of any witness;

(2) the exhibits received in evidence; and

 

(3) any facts to which the parties have agreed.

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COURT’S INSTRUCTION NO. _7

In reaching your verdict you may consider only the
testimony and exhibits received in evidence. The following
things are not evidence and you may not consider them in deciding
what the facts are:

1. Questions, Statements, objections, and arguments by
the lawyers are not evidence. The lawyers are not witnesses. __
Although you must consider a lawyer’s questions to understand the
answers of a witness, the lawyer’s questions are not evidence.
Similarly, what the lawyers have said in their opening
statements, will say in their closing arguments and at other
times is intended to help you interpret the evidence, but it is
not evidence. If the facts as you remember them differ from the
way the lawyers state them, your memory of them controls.

2. Any testimony that I have excluded, stricken, or
instructed you to disregard is not evidence. In addition, if any
evidence was received only for a limited purpose; when I have
instructed you to consider certain evidence in a limited way, you
must do so.

3. Anything you may have seen or heard when the Court was

not in session is not evidence. You are to decide the case

 

solely on the evidence received at the trial.

 
  

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COURT’S INSTRUCTION NO, 8
Evidence may be direct or circumstantial. Direct evidence
is direct proof of a fact, such as testimony by a witness about
what that witness personally saw or heard or did. Circumstantial
evidence is indirect evidence, that is, it is proof of one or
more facts from which you can find another fact.

You are to consider both direct and circumstantial

 

 

evidence. Either can be used to prove any fact. The law makes no
distinction between the weight to be given to either direct or
circumstantial evidence. It is for you to decide how much weight

to give to any evidence.

 
 

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COURT’S INSTRUCTION NO. _9 |
In deciding the facts in this case, you may have to decide
which testimony to believe and which testimony not to believe.
You may believe everything a witness Says, Or part of it, or none
of it.
In considering the testimony of any witness, you may take

into account:

 

(1) the witness’s opportunity and ability to see or hear
or know the things testified to;

(2) the witness’s memory;

(3) the witness’s manner while testifying;

(4) the witness’s interest in the outcome of the case, if

any;
(5) the witness's bias or prejudice, if any;
(6) whether other evidence contradicted the witness’s
testimony;

(7) the reasonableness of the witness’s testimony in light
of all the evidence; and

(8) any other factors that bear on believability.

The weight of the evidence as to a fact does not
necessarily depend on the number of witnesses who testify. What
is important is how believable the witnesses were, and how much

weight you think their testimony deserves.

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COURT’S INSTRUCTION NO. _10_
You are here only to determine whether the defendant is
guilty or not guilty of the charges in the First Superseding
Indictment. The defendant is not on trial for any conduct or

offense not charged in the First Superseding Indictment.

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COURT’S INSTRUCTION NO. _11

A separate crime is charged against the defendant in each
count. You must decide each count separately. Your verdict on

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; one count should not control your verdict on any other count.
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COURT’S INSTRUCTION NO. 12
You have heard testimony that the defendant made a
statement. It is for you to decide (1) whether the defendant made
the statement, and (2) if so, how much weight to give to it. In
making those decisions, you should consider all the evidence

about the statement, including the circumstances under which the

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defendant may have made it.

 

 

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COURT’S INSTRUCTION NO. 13
You have heard evidence that the defendant has previously
been convicted of a crime. You may consider that evidence only
as it relates to whether defendant was prohibited from possessing
a firearm as charged in the First Superseding Indictment. You

may not consider the prior conviction for any other purpose.

 

 

 

 

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COURT’S INSTRUCTION NO. _14

   

You have heard testimony that a witness, Paramaz

Bilezikchyan, has been previously been. convicted of felony

testimony of this witness.

 

 

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offenses. You may consider this evidence in deciding whether or

not to believe this witness and how much weight to give to the

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COURT’S INSTRUCTION NO. 13
2 You have heard testimony from a witness, Paramaz
3 Bilezikchyan, who may receive benefits from the government in
4 connection with this case, and who pleaded guilty to a crime
° arising out of the same events for which the defendant is on
° trial. This guilty plea is not evidence against the defendant,
’ and you may consider it only in determining this witness's
; believability.
10 For these reasons, in evaluating the testimony of the
rr witness, you should consider the extent to which or whether the
0 witness’s testimony may have been influenced by any of these
1B factors. In addition, you should examine the testimony of the
14 witness with greater caution than that of other witnesses.
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COURT’S INSTRUCTION NO. _16 _

You have heard testimony from an informant who was involved
in the government’s investigation in this case. Law enforcement
officials may engage in stealth and deception, such as the use of
informants and undercover agents, in order to investigate
criminal activities. Undercover agents and informants may use
false names and appearances and assume the roles of members in

criminal organizations.

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COURT’S INSTRUCTION NO. 17

You have heard testimony from persons who, because of
education or experience, were permitted to state opinions and the
reasons for their opinions.

Such opinion testimony should be judged like any other
testimony. You may accept it or reject it, and give it as much
weight as you think it deserves, considering the witness’ s
education and experience, the reasons given for the Opinion, and

all the other evidence in the case.

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COURT’S INSTRUCTION NO. 18
Certain charts and summaries have been admitted in
evidence. Charts and summaries are only as good as the underlying
Supporting material. You should, therefore, give them only such

weight as you think the underlying material deserves.

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COURT’S INSTRUCTION NO, 19 .

3 You have heard English-language recordings that have been
; received in evidence. Transcripts of the recordings have been
‘ provided to help you identify speakers and to help you decide
° what the speakers say. Remember that the recordings are the
° evidence, not the transcripts. If you hear something different
’ from what appears in the transcripts, what you heard is
; controlling. Listen carefully; the transcripts will not be
10 available during your deliberations.

HW On the other hand, you have also heard a recording in the
2 Eastern Armenian language. A transcript of that recording has
13 been admitted into evidence and will be available during your
14 deliberations. That transcript is an official English-language
15 translation of the recordings. Although some of you may know
16 Eastern Armenian, it is important that all jurors consider the
17 | Same evidence. Therefore, you must accept the English
18 translation contained in the transcript even if you would
19 translate it differently.

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COURT’ S INSTRUCTION NO. __ 20.

For reasons that do not concern you, the cases against the
co-defendants named in the First Superseding Indictment are no
longer before you. Do not speculate why. This fact should not
influence your verdicts with reference to the remaining

defendant, and you must base your verdict solely on the evidence

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against the remaining defendant. |

 

 

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COURT’S INSTRUCTION NO. _21

The First Superseding Indictment accuses the defendant of

  
   

various crimes. Those crimes are set forth in different counts
of the First Superseding Indictment. I will now give you a
general overview of the First Superseding Indictment.

Count 1 charges defendant with Racketeering Conspiracy.

Count 120 charges defendant with Possession with Intent to

10 Defraud of Fifteen or More Unauthorized Access Devices.

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Counts 101, 121, 122, and 123 charge defendant with

Aggravated Identity Theft.

Count 135 charges defendant with Possession of a Firearm by

a Convicted Felon.

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Count 98 charges defendant with Attempted Bank Fraud. |
 

 

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COURT’S INSTRUCTION NO._22

I am about to begin explaining the law pertaining to the
charges in the First Superseding Indictment. Let me advise you
in advance, though: These jury instructions are lengthy,
especially as to Count 1, the Racketeering Conspiracy count.
Although the instructions are lengthy, they are also necessary.
Please be assured that we have made every effort to. shorten_the—_
instructions, simplify them, and make them more accessible to
you. I am reading the instructions now, but I will also provide
you with a set of the instructions to take with you and consult
during your deliberations. You also will be provided with
verdict forms.

The instructions for Count 1 are longer than for the other
counts in part because I will be defining and explaining a number

of terms and concepts relating to the racketeering laws.

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COURT’S INSTRUCTION NO. 23.

Count 1 of the First Superseding Indictment charges that
from a date unknown to in or about February 16, 2011, the
defendant and others knowingly conspired to conduct and
participate, directly and indirectly, in the conduct of the

affairs of an enterprise through a pattern of racketeering

activity, in violation of Title 18, United States Code, Section |

 

 

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1962(d). I will refer to this as Racketeering Conspiracy.

In order to convict a defendant of Racketeering Conspiracy,
the government must prove beyond a reasonable doubt that:

First, the charged enterprise would exist;

Second, the enterprise would engage in or its activities
would affect interstate or foreign commerce;

Third, the defendant knowingly agreed that a conspirator
would be employed by or associated with the enterprise;

Fourth, the defendant knowingly agreed that a conspirator
would conduct or participate, either directly or indirectly, in
the conduct of the affairs of the enterprise; and

Fifth, the defendant knowingly agreed that a conspirator
would knowingly participate in the conduct of the affairs of the
enterprise through a pattern of racketeering activity; that is, a
conspirator would commit at least two acts of racketeering
activity as alleged in the First Superseding Indictment.

The essence of Racketeering Conspiracy is the agreement that

a conspirator would commit the substantive offense of

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Racketeering. As a result, the government must prove that if the
conspiracy offense were completed as contemplated, the enterprise
would exist, that this enterprise would engage in, or its
activities would affect, interstate or foreign commerce, and that
a conspirator (who could be, but need not be, the defendant

himself) would have been employed by or associated with the

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affairs of the enterprise through a pattern of racketeering

   
    

10 activity. For example, at least two acts of bank fraud or access

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device fraud, or any combination thereof.

The government is not required to prove that the alleged

, enterprise was actually established, that a co-conspirator was
14 actually employed by or associated with the enterprise, or that
15 the enterprise was actually engaged in, or its activities

16 actually affected, interstate or foreign commerce.

17 The jury may find that a defendant has entered into the

18 requisite agreement to violate RICO when the government has |

19 || Proven beyond a reasonable doubt that the defendant agreed with
29 | at least one other co-conspirator that at least two of the type
21 | OF types of racketeering activity listed in the First Superseding
99 | Indictment would be committed by a member of the conspiracy in
93 || the conduct of the affairs of the enterprise.

24 The government is not required to prove that the defendant
25 |] personally committed two racketeering acts, or that he agreed to
26 || Personally commit two racketeering acts. Rather, it is

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enterprise, and would have conducted or participated in the  _-—s |
 

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sufficient if the government proves beyond a reasonable doubt
that the defendant agreed to Participate in the enterprise with
the knowledge and intent that at least one member of the RICO

conspiracy (who could be, but need not be, the defendant himself)

 

would commit at least two racketeering acts in the conduct of the

affairs of the enterprise.

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COURT’S INSTRUCTION NO._24
Before explaining each of the elements of Racketeering
Conspiracy in detail, I will provide some general instructions on
conspiracy.
For a conspiracy to have existed, it is not necessary that
the conspirators made a formal agreement or that they agreed on

every detail of the conspiracy. It is not enough, however, that_

 

 

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the conspirators simply met, discussed matters of common
interest, acted in similar ways, or perhaps helped one another.
You must find that there was a plan to commit at least one of the
crimes alleged in the indictment as an object or purpose of the
conspiracy with all of you agreeing as to the particular crime
which the conspirators agreed to commit.

One becomes a member of a conspiracy by willfully
participating in the unlawful plan with the intent to advance or
further some object or purpose of the conspiracy, even though the
person does not have full knowledge of all the details of the
conspiracy. Furthermore, one who willfully joins an existing
conspiracy is as responsible for it as the originators. On the
other hand, one who has no knowledge of a conspiracy, but happens
to act in a way which furthers some object or purpose of the
conspiracy, does not thereby become a conspirator. Similarly, a
person does not become a conspirator merely by associating with
one or more persons who are conspirators, nor merely by knowing

that a conspiracy exists.

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A conspiracy may continue for a long period of time and may
include the performance of many transactions. It is not
necessary that all members of the conspiracy join it at the same
time, and one may become a member of a conspiracy without full
knowledge of all the details of the unlawful scheme or the names,

identities, or locations of all of the other members.

 

It is no defense that a person’s participation ina

 

conspiracy was minor or for a short period of time.

     

10 The Racketeering Conspiracy charged in Count 1 does not

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require proof that a member of the conspiracy committed an overt

act in furtherance of the conspiracy.

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COURT’S INSTRUCTION NO._25
A conspiracy may be proven by circumstantial evidence and
may exist without a formal agreement. The elements may therefore
be established by evidence of coordinated activities between the
defendants.

The government is not required to prove that the parties to

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or members of the alleged agreement or conspiracy were successful | ___-_

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in achieving any or all of the objects of the agreement or

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conspiracy.
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COURT’S INSTRUCTION NO. —26
I will now explain the elements of Racketeering Conspiracy.
The first element the government must prove as to Count 1 is
that the enterprise alleged in the First Superseding Indictment -
the Armenian Power Criminal Organization - was or would be

established.

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An enterprise is a group of people who have associated

  

 

     
  

together for a common purpose of engaging in a course of conduct
10 over a period of time. This group of people, in addition to

iW having a common purpose, must have an ongoing organization,

2 either formal or informal. The personnel of the enterprise,

3 however, may change and need not be associated with the

14 enterprise for the entire period alleged in the indictment. This
15 group of people does not have to be a legally recognized entity,
16 such as a partnership or corporation. This group may be

17 organized for a legitimate and lawful purpose, or it may be

18 organized for an unlawful purpose. The name of the organization
19 itself is not an element of the offense and does not have to be

proved.

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1 Therefore, the government must prove beyond a reasonable
97 | doubt that this would be a group of people (1) associated for a
23 | Common purpose of engaging in a course of conduct; (2) that the
24 |] association of these people would be an ongoing formal or

25 jj informal organization, and (3) the group would be engaged in or
26 || have an effect upon interstate or foreign commerce. The

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government need not prove that the enterprise would have any

particular organizational structure.

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COURT’S INSTRUCTION NO. 27
The second element the government must prove as to Count 1
is that the enterprise did or would engage in, or that the
enterprise’s activities did or would affect, interstate or
foreign commerce. Interstate commerce means commerce between one

state and another state and foreign commerce means commerce

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between the United States and a foreign country. Interstate

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commerce includes the movement of goods, services, money and

individuals between states. These goods can be legal or illegal.

   
  
 

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This effect on interstate commerce could have occurred in any

way, and it need only have been minimal.

| It is not necessary for you to find that a defendant himself
14 engaged in interstate or foreign commerce or that he knew the

15 enterprise was engaged in interstate or foreign commerce. Only a
16 minimal effect on commerce is required, and the effect need only

7 be probable or potential, not actual. It is not necessary to

1g || Prove that the defendant’s own acts affected interstate commerce

19 || 48 long as the enterprise’s acts had or would have had such an

99 | effect. Nor is it necessary that the effect on interstate or

21 || foreign commerce have been adverse to commerce. All that is

22 | necessary is that the enterprise would engage in or its

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activities would affect interstate or foreign commerce in some

minimal way.

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COURT’S INSTRUCTION NO. _28_

The third element the government must prove as to Count 1
is that a conspirator, who Might be the defendant himself, would
be “employed by” or “associated with” the enterprise. The
government need not prove both; proving that a conspirator either

was “employed by” or was “associated with” the enterprise is

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should be given its common, plain meaning.

10 “Associated with” also should be given its plain meaning.

1 A person is “associated with” an enterprise when, for example, he

joins with other members of the enterprise and knowingly aids or

 

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13 furthers the activities of the enterprise, or he conducts
14 business with or through the enterprise.

15 It is not required that the defendant agree that any

16 particular conspirator would be “employed by” or “associated

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with” the enterprise for the entire time the enterprise existed.
The government also is not required to prove that the defendant
agree that any particular conspirator had a formal position in
the enterprise, or participated in all the activities of the
enterprise, or had full knowledge of all the activities of the
enterprise, or knew about the participation of all the other
members of the enterprise. Rather, it is sufficient that the
government prove beyond a reasonable doubt that, at some point
during the existence of the enterprise as alleged in the First

Superseding Indictment, defendant agreed that a conspirator would

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sufficient to establish this element. The term “employed by” fo
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be “employed by” or “associated with” the enterprise within the
meaning of those terms as I have just explained and that he would
know of the general nature of the enterprise, and would know that
the enterprise extended beyond his or her own role in the

enterprise.

 

 

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COURT’S INSTRUCTION NO. _29
The fourth element the government must prove as to Count 1
is that the defendant agreed that a conspirator, who might be the
defendant himself, would conduct or participate in the conduct of
the affairs of the enterprise. A defendant may be convicted of a
racketeering conspiracy offense even if he did not personally

participate in the operation or management of the enterprise when

 

 

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the evidence establishes that the defendant knowingly agreed that
at least one conspirator would participate in the operation or
management of the enterprise.

Such proof of operation and management may include evidence
that the defendant agreed that a conspirator would intentionally
perform acts, functions or duties which are necessary to, or
helpful in, the operation of the enterprise, or that a
conspirator had some part in directing the enterprise’s affairs.
However, the government need not prove that the conspirator would
exercise significant control over or within the enterprise, or
that he had a formal position in the enterprise, or that he had
primary responsibility for the enterprise’s affairs. Rather, an
enterprise is operated not just by upper management but also by
lower-rung participants in the enterprise who are under the
direction of upper management or carry out upper management's
orders. An enterprise also might be operated or managed by one

who exerts control over the enterprise.

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| COURT’S INSTRUCTION NO. _30
The fifth element the government must prove as to Count 1
is that the defendant agreed that a conspirator, who might be the
defendant himself, would knowingly participate in the conduct of
the affairs of the enterprise through a pattern of racketeering
activity. A pattern of racketeering activity requires at least

two acts of racketeering, the last of which occurred within ten

 

 

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years after the commission of a prior act of racketeering.

To establish a pattern of racketeering activity as alleged
in Count One of the First Superseding Indictment, the government
must prove three elements beyond a reasonable doubt:

First, the defendant agreed that a conspirator, who could
be the defendant himself, would intentionally commit, or cause,
or aid and abet the commission of, any two or more racketeering
acts of the types of racketeering activity alleged in the First
Superseding Indictment: that is, Bank Fraud or Unlawful
Possession of Fifteen or More Access Devices, or any combination
thereof. The racketeering acts need not be of the same type, but
you must all agree beyond a reasonable doubt as to which type or
types of racketeering activity you find that the defendant agreed
would be committed, caused, or aided and abetted. At the end of
the instruction, I will instruct you on the elements of the
charged types of racketeering activity.

Second, the racketeering activity would be “related.” To

be “related,” the racketeering acts might have the same or

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similar purposes, results, participants, victims, or methods of
commission, or be otherwise interrelated by distinguishing
characteristics and not be merely isolated events. Racketeering
acts might also be “related” even if they are dissimilar,
“provided that the racketeering acts have a meaningful connection

to the enterprise. For example, a meaningful connection could be

enterprise would facilitate his commission of the racketeering

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‘act, or that the racketeering act would benefit the enterprise,

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or ‘that the racketeering act would. be authorized by the

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enterprise, or that the racketeering act would promote or further

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the purposes of the enterprise.

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Third, the racketeering activity must have extended over a

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substantial period of time, or would pose a threat of continued
criminal activity. The government need not prove such a threat
‘of continuity by any mathematical formula or by any particular

‘method of proof, but rather may prove it in a variety of ways.

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For example, the threat of continued unlawful activity would be

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established when the evidence shows that the racketeering

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activity is part of a long-term association that exists for

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criminal purposes, or when the racketeering activity would be

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shown to be the regular way of conducting the affairs of the

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enterprise.

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Sporadic, widely separated, or isolated criminal acts do

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not form a pattern of racketeering activity.

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_shown by evidence that that the defendant’s position in the |
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In determining whether the government has proven the threat
of continued unlawful activity, you are not limited to
consideration of the specific type or types of racketeering
activity charged against the defendant; rather, in addition to
considering such activity you also may consider the nature of the
enterprise, and other unlawful activities of the enterprise and

its members viewed in their entirety, including both charged and _

 

 

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uncharged unlawful activities.

In order to convict the defendant of the racketeering
conspiracy offense, the jury’s verdict must be unanimous that the
defendant agreed that two or more racketeering acts would be
committed, and be unanimous as to the type or types of predicate
racketeering activity, as alleged in the First Superseding
Indictment, that the defendant agreed would be committed, such as
Bank Fraud, or Unlawful Possession of Fifteen or more Access
Devices, or any combination thereof.

In conclusion, it is important to note that the Government
is not required to prove that the alleged enterprise was actually
established, that the enterprise was actually engaged in or its
activities actually affected interstate or foreign commerce, that
the defendants were actually employed by or associated with the
enterprise, or that any acts of racketeering were actually
committed. Because the agreement to commit at least two
racketeering offenses is the essence of a racketeering conspiracy

offense, the Government need only prove the elements as I have

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described them to you in these instructions.

 

 

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COURT’S INSTRUCTION NO. 31.

I will now instruct you on the law regarding Bank Fraud in
violation of Title 18, United States Code, Section 1344. It is
alleged in Count 1 that Bank Fraud is a type of racketeering
activity that the defendant agreed would be committed as part of
the racketeering conspiracy. |

In order for an individual to be found guilty of Bank Fraud

 

 

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in violation of Title 18, United States Code, Section 1344, the
government must prove each of the following elements beyond a
reasonable doubt:

First, the individual knowingly executed a scheme to
defraud a financial institution;

Second, the fraudulent scheme was material; that is, it had
a natural tendency to influence, or was capable of influencing, a
financial institution to part with money or property;

Third, the individual did so with the intent to defraud;

and
Fourth, the financial institution was federally insured.
An intent to defraud is an intent to deceive or cheat.
Intent to defraud may be established by circumstantial
evidence.

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COURT’S INSTRUCTION NO. _32_

I will now instruct you on the law regarding Unlawful
Possession of Fifteen or More Access Devices in violation of
Title 18, United States Code, Section 1029(a)(3). It is alleged
in Count 1 that Unlawful Possession of Fifteen or More Access
Devices is a type of racketeering activity that the defendant
agreed would be committed as part of the racketeering conspiracy.

In order for an individual to be found guilty of Unlawful
Possession of Fifteen or More Access Devices, the government must
prove each of the following elements beyond a reasonable doubt:

First, the individual knowingly possessed at least fifteen
unauthorized access devices;

Second, the individual knew that the devices were

unauthorized;

Third, the individual acted with the intent to defraud; and
Fourth, the individual’s conduct in some way affected
commerce between one state and another state, or between a state

of the United States and a foreign country.

An “unauthorized access device” is any access device that
is lost, stolen, expired, revoked, cancelled, or obtained with
the intent to defraud.

An “access device” means any card, plate, code, account
number, electronic serial number, mobile identification number,

personal identification number, or other telecommunications

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service, equipment, or instrument identifier, or other means of
account access that can be used, alone or in conjunction with
another access device, to obtain money, goods, services, or any
other thing of value, or that can be used to initiate a transfer
of funds (other than a transfer originated solely by paper
instrument).

Whether an individual acted with the intent to defraud, and

 

 

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whether the individual’s conduct in some way affected interstate
or foreign commerce, is determined by considering the entire

scheme, not each individual access device.

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COURT’S INSTRUCTION NO. _33

Defendant is charged in Count 98 with Attempted Bank Fraud

 

 

 

Second, the fraudulent scheme was material; that is, it had

Fourth, the individual did something that was a substantial

 

 

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in violation of Title 18, United States Code, Section 1344. In
4 order for an individual to be found guilty of Attempted Bank
° Fraud in violation of Title 18, United States Code, Section 1344,
° the government must prove each of the following elements beyond a
’ reasonable doubt:
First, the individual knowingly attempted to execute a
10 scheme to defraud a financial institution;
11
2 a natural tendency to influence, or was capable of influencing, a
13 financial institution to part with money or property;
14 Third, the individual did so with the intent to defraud;
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16 step toward carrying out the scheme; and
17 Fifth, the financial institution was federally insured.
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19 An intent to defraud is an intent to deceive or cheat.
20 Intent to defraud may be established by circumstantial
1 evidence.
22 Mere preparation is not a substantial step toward
93 || committing the crime. To constitute a substantial step, a
94 || defendant’s act or actions must demonstrate that the crime will
95 || take place unless interrupted by independent circumstances.
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COURT’S INSTRUCTION NO. _34_

Defendant’s or a co-schemer’s actions can constitute a
scheme to defraud, even if there are no specific false statements
involved.

A scheme to defraud can also consist of false statements,
false representations, or omissions as well as half-truths and

the knowing concealment of facts. In determining whether a

 

 

 

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scheme to defraud exists, you are entitled to consider not only
the defendant’s and co-schemer’s words and statements, but also
the circumstances in which they are used as a whole. Even if
statements made as part of the scheme are not literally false,
you may consider whether the statements taken as a whole were
misleading and deceptive. You may find a scheme to defraud if

you find beyond a reasonable doubt that the scheme was reasonably

calculated to deceive.

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COURT’S INSTRUCTION NO. _35
It is not necessary for the government to prove that the
Bank Fraud scheme succeeded, that money. or property was obtained

from a bank, or that there was an actual loss.

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COURT’S INSTRUCTION NO. _36_
Defendant is charged in Count 120 with Unlawful Possession
of Fifteen or More Access Devices in violation of Title 18,
United States Code, Section 1029(a)(3).. In order for an
individual to be found guilty of Unlawful Possession of Fifteen
or More Access Devices, the government must prove each of the

following elements beyond a reasonable doubt:  —__

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First, the individual knowingly possessed at least fifteen
unauthorized access devices;

Second, the individual knew that the devices were
unauthorized;

Third, the individual acted with the intent to defraud; and

Fourth, the individual’s conduct in some way affected
commerce between one state and another state, or between a state

of the United States and a foreign country.

An “unauthorized access device” is any access device that
is lost, stolen, expired, revoked, cancelled, or obtained with
the intent to defraud.

An “access device” means any card, plate, code, account
number, electronic serial number, mobile identification number,
personal identification number, or other telecommunications
service, equipment, or instrument identifier, or other means of
account access that can be used, alone or in conjunction with

another access device, to obtain money, goods, services, or any

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other thing of value, or that can be used to initiate a transfer
of funds (other than a transfer originated solely by paper
instrument). .

Whether an individual acted with the intent to defraud, and
whether the individual’s conduct in some way affected interstate
or foreign commerce, is determined by considering the entire

scheme, not each individual access device.

 

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COURT’S INSTRUCTION NO. 37
Defendant is charged in Counts 101, 121, 122, and 123 with
Aggravated Identity Theft in violation of Title 18, United States
Code, Section 1028A. .
Count 101 pertains to victim S.T.
Count 121 pertains to victim R.D.

Count 122 pertains to victim A.M.R.

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Count 123 pertains to victim V.N.

In order for a defendant to be found guilty of Aggravated
Identity Theft, the government must prove each of the following
elements beyond a reasonable doubt:

First, the defendant knowingly transferred, possessed, or
used without legal authority a means of identification of another

person;

Second, the defendant knew that the means of identification
belonged to a real person; and

Third, the defendant did so during and in relation to
Attempted Bank Fraud or Unlawful Possession of Fifteen or More

Access Devices, as charged in the First Superseding Indictment.

A “means of identification” is any name or number that may
be used, alone or in conjunction with any other information, to
identify a specific individual, including any name, social
security number, date of birth, official State or government

issued driver’s license or identification number, unique

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electronic identification number, address, routing number, or

signature.

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COURT’S INSTRUCTION NO. _38

 

 

2 Defendant is charged in Count 135 with Possession of a
3 Firearm by a Convicted Felon in violation of Title 18, United
4 States Code, 922(g)(1). In order for a defendant to be found
° guilty of Possession of a Firearm by a Convicted Felon, the
® government must prove each of the following elements beyond a
’ reasonable doubt:
First, the defendant knowingly possessed a firearm; and
10 Second, the firearm had been shipped or transported from
ir one state to another or between a foreign nation and the United
12 States; and
13 Third, at the time the defendant possessed the firearm, the
14 defendant had been convicted of a crime punishable by
15 imprisonment for a term exceeding one year.
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COURT’S INSTRUCTION NO. 39
You are instructed that the conviction set forth in

Government’ s Exhibit: 48 was a crime punishable by imprisonment

 

‘for: a term exceeding one year.

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COURT’S INSTRUCTION NO. _40
A defendant may be found guilty of Attempted Bank Fraud,
Unlawful Possession of Fifteen or More Access Devices, or
Aggravated Identity Theft even if the defendant personally did
not commit the act or acts constituting the crime but aided and
abetted in its commission. To prove a defendant guilty of aiding

and abetting, the government must prove beyond a reasonable

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doubt:

First, Attempted Bank Fraud, Unlawful Possession of Fifteen
or More Access Devices, or Aggravated Identity Theft was
committed by someone;

Second, the defendant knowingly and intentionally aided,
counseled, commanded, induced or procured that person to commit
each element of Attempted Bank Fraud, Unlawful Possession of
Fifteen or More Access Devices, or Aggravated Identity Theft;
and |

Third, the defendant acted before the crime was completed.
It is not enough that the defendant merely associated with the
person committing the crime, or unknowingly or unintentionally
did things that were helpful to that person, or was present at
the scene of the crime. The evidence must show beyond a
reasonable doubt that the defendant acted with the knowledge and
intention of helping that person commit Attempted Bank Fraud,

Unlawful Possession of Fifteen or More Access Devices, or

Aggravated Identity Theft.

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The government is not required to prove precisely which
defendant actually committed the crime and which defendant aided

and abetted.

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COURT’S INSTRUCTION NO. _41_

Mere presence at the scene of the crime or mere knowledge
that a crime is being committed is not sufficient to establish
that the defendant committed the crime alleged. The defendant
must be a participant and not merely a knowing spectator. The

defendant’s presence may be considered by the jury along with

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other evidence in the case.

 

 

 

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COURT’S INSTRUCTION NO. 42. --~-~-

An act is done knowingly if the defendant is aware of the
act and does not act through ignorance, mistake, or accident.
The government is not required to prove that the defendant knew
that his acts or omissions were unlawful. You may consider

evidence of the defendant’s words, acts, or omissions, along with

 

all the other evidence, in deciding whether the defendant acted

 

 

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COURT’S INSTRUCTION NO. 43

The knowledge that a person possesses at any given time may
not ordinarily be proved directly because there is no way of
directly scrutinizing the workings of the human mind. In
determining the issue of what the defendant knew at a particular
time, you may consider any statements made, or acts done, by the
defendant, and all other facts and circumstances received in
evidence which may aid in your determination of the defendant’s
knowledge. It is entirely up to you to decide what facts to find
from the evidence received during this trial.

Circumstantial evidence may be used to prove the

defendant’s knowledge.

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COURT’S INSTRUCTION NO. __44_

A person has possession of something if the person knows of
its presence and has physical control of it, or knows of its
presence and has the power and intention to control it. More
than one person can be in possession of something if each knows

of its presence and has the power and intention to control it.

 

 

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COURT'S INSTRUCTION NO. _45_

When you begin your deliberations, you should elect one
member of the jury as your foreperson. That person will preside
over the deliberations and speak for you here in court.

You will then discuss the case with your fellow jurors to

reach agreement if you can do so. Your verdict, whether guilty

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or not guilty, must be unanimous. _

Each of you must decide the case for yourself, but you
should do so only after you have considered all the evidence,
discussed it fully with the other jurors, and listened to the
views of your fellow jurors. |

Do not be afraid to change your opinion if the discussion
persuades you that you should. But do not come to a decision
simply because other jurors think it is right.

It is important that you attempt to reach a unanimous
verdict but, of course, only if each of you can do so after
having made your own conscientious decision. Do not change an
honest belief about the weight and effect of the evidence simply

to reach a verdict.

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COURT’S INSTRUCTION NO. _46 _

Because you must base your verdict only on the evidence
received in the case and on these instructions, I remind you that
you must not be exposed to any other information about the case
or to the issues it involves. Except for discussing the case

with your fellow jurors during your deliberations:

Do not communicate with anyone in any way and do not let

 

 

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anyone else communicate with you in any way about the merits of
the case or anything to do with it. This includes discussing the
case in person, in writing, by phone or electronic means, via
email, text messaging, or any Internet chat room, blog, website
or other feature. This applies to communicating with your family
members, your employer, the media or press, and the people
involved in the trial. If you are asked or approached in any way
about your jury service or anything about this case, you must
respond that you have been ordered not to discuss the matter and
to report the contact to the Court.

Do not read, watch, or listen to any news or media accounts
or commentary about the case or anything to do with it; do not do
any research, such as consulting dictionaries, searching the
Internet or using other reference materials; and do not make any
investigation or in any other way try to learn about the case on

your own.

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The law requires these restrictions to ensure the parties
have a fair trial based on the same evidence that each party has
had an opportunity to address. A juror who violates these
restrictions jeopardizes the fairness of these proceedings. If
any juror is exposed to any outside information, please notify

the Court immediately.

 

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COURT’S INSTRUCTION NO. 47
Some of you have taken notes during the trial. Whether or
not you took notes, you should rely on your own memory of what
was said. Notes are only to assist your memory. You should not

be overly influenced by the notes.

 

 

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COURT’S INSTRUCTION NO. 48
The punishment provided by law for this crime is for the
Court to decide. You may not consider punishment in deciding
whether the government has proved its case against the defendant

‘beyond a reasonable doubt.

 

 

 

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COURT’S INSTRUCTION NO. __49
A verdict. form has been prepared for you. After you have
reached unanimous agreement on a verdict, your foreperson should
complete the verdict form according to your deliberations, sign
and date it, and advise the bailiff that you are ready to return

to the courtroom.

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COURT’S INSTRUCTION NO. 20
If it becomes necessary during your deliberations to
communicate with me, you may send a note through the bailiff,
signed by any one or more of you. No member of the jury should
ever attempt to communicate with me except by a signed writing,

and I will respond to the jury concerning the case only in

 

will consult with the lawyers before answering it, which may take
some time. You may continue your deliberations while waiting for
the answer to any question. Remember that you are not to tell
anyone — including me —how the jury stands, numerically or
otherwise, on any question submitted to you, including the
question of the guilt of the defendant, until after you have

reached a unanimous verdict or have been discharged.

 

 

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writing or here in open court. If you send out a question, I ne
